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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT CINCINNATI

 JIAXI HU, MENGFANG LI, XIAOYAN
 WU, WEI REN, RUIMIN CHEN, JIANLI
 DU, JIMEI ZHANG, ZHENPING HAO, JIE
 CUI AND GUIYING WANG,                             Case No. 1:15-cv-709-MRB
        Plaintiffs,
 v.
 TERRY CHAN, GARY CHAN, MARTIN
 ANGIULLI, ANGIULLI, INC., KENTUCKY
 REGIONAL CENTER, LLC D/B/A
 MIDWEST EB-5 REGIONAL CENTER,
 SV ARX, LLC, DANTE BELLA, LLC AND
 JEFFREY JACOBS,
        Defendants.
                                             /
  PLAINTIFFS' NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE OF
                  DEFENDANT CHRISTOPHER M. LACEY
       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs, Jiaxi

Hu, Mengfang Li, Xiaoyan Wu, Wei Ren, Ruimin Chen, Jianli Du, Jimei Zhang, Zhenping Hao,

Jie Cui, and Guiying Wang ("Plaintiffs") hereby dismiss all claims asserted against Defendant

Christopher M. Lacey without prejudice. This dismissal does not affect the remaining claims

against the remaining Defendants, as set forth in the Second Amended Complaint.

Dated this 7th day of May, 2018.

                                             /s/Christopher D. Stock
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                                             and
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                                            Attorneys for Plaintiffs

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFIY that on May 7, 2018, I electronically filed the foregoing with the

Clerk of the court using the CM/ECF system, which will send notifications of such filing to all

counsel of record.

                                                   /s/David J. George
                                                   David J. George




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